Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.31 Page 1 of 42

ORIGINAL

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

United States of America,
Vv.

D-1 Joseph Ashton,

Defendant.

 

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DEC 04 2019

CLERK'S OFFICE
U.S. DISTRICT COURT

EASTERN MICHIGAN

No. 19-cr-20738
Hon. Bernard A. Friedman

Offenses:

Count One — 18 U.S.C. § 1349;
Conspiracy to Commit Honest
Services Wire Fraud

Count Two — 18 U.S.C. § 1956(h);
Conspiracy to Commit Money
Laundering

Maximum Penalty:
Count One — Up to 20 years’
imprisonment

Count Two — Up to 10 years’
imprisonment

Maximum Fine:
Counts One and Two — Up to $250,000

Rule 11 Plea Agreement

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, defendant

JOSEPH ASHTON and the government agree as follows:
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1. Guilty Plea
A. Counts of Conviction
Defendant will enter a plea of guilty to counts one and two of the Information
which charges him with conspiracy to commit honest services wire fraud, in
violation of 18 U.S.C. § 1349, and conspiracy to commit money laundering, in
violation of 18 U.S.C. § 1956(h).
B. Elements of Offenses
The elements of count one, conspiracy to commit honest services wire fraud,
are as follows:
1. Two or more persons, in some way or manner, agreed to try to accomplish
a common and unlawful plan to commit honest services wire fraud, as

charged in the information; and

2. The defendant knew the unlawful purpose of the plan and willfully joined
in it.

The elements of honest services wire fraud are:

1. The defendant knowingly and unlawfully devised and participated in a
scheme to defraud his employer of its right to the honest services of the
defendant through bribery or kickbacks;

2. The defendant did so knowingly and with an intent to defraud;

3. The scheme or artifice to defraud involved a material misrepresentation,
false statement, false pretense, or concealment of fact; and

4. In furtherance or execution of this scheme, the defendant used or caused

to be transmitted, any writing, signal, or sound by means of a wire
communication in interstate or foreign commerce.

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The elements of count two, conspiracy to commit money laundering, are as

follows:
1. Two or more persons, in some way or manner, agreed to try to
accomplish a common and unlawful plan to commit money laundering, as

charged in the information; and

2. The defendant knew the unlawful purpose of the plan and willfully joined
in it.

The elements of money laundering are:

1. The defendant knowingly engaged in a monetary transaction;

2. The monetary transaction was of a value greater than $10,000.00;
3. The monetary transaction involved criminally derived property;

4, The criminally derived property was derived from specified unlawful
activity;

5. The defendant knew that the monetary transaction involved criminally
derived property; and

6. The monetary transaction took place within the United States.
C. ‘Factual Basis for Guilty Plea
The following facts are a sufficient and accurate basis for defendant’s guilty
plea and are relevant to the charges and time period contained in the Information:
The International Union, United Automobile, Aerospace, and Agricultural
Implement Workers of America (UAW) was a labor organization engaged in an
industry affecting commerce. The UAW represented tens of thousands of

production, skilled trades, and salaried workers employed by the General Motors

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Company (GM) at numerous locations in Michigan, and across the United States
and Canada. The UAW was headquartered in Detroit, Michigan. The VAW-GM
Center for Human Resources (CHR) was a tax-exempt corporation based in Detroit,
Michigan. The stated purpose of the CHR was to develop, deliver, coordinate and
administer joint strategies and programs designed to educate and train UA W-
represented GM employees. GM’s funding of the CHR was negotiated as part of the
relevant collective bargaining agreements between UAW and GM. The Executive
Board-Joint Activities (Executive Board) was the governing body responsible for
overseeing and facilitating the joint activities of the CHR.

From in or about July of 2010, until in or about July of 2014, JOSEPH
ASHTON was the UAW Vice President and Director of the GM Department.
During this time, he also served as an officer on the CHR Executive Board. As a
senior UAW official and an officer on the CHR Executive Board, JOSEPH
ASHTON was a fiduciary of the UAW and the CHR and was prohibited by UAW
and CHR policy from accepting kickbacks and improperly using his position to
benefit himself, his family and friends, and outside businesses. JOSEPH ASHTON
was required by state and federal law to discharge his duties solely in the interest of
the union and its membership.

Jeffery Pietrzyk and Michael Grimes were senior officials in the UAW GM
Department and also served on the CHR Executive Board. Vendor B was a

chiropractor based in the Philadelphia, Pennsylvania, and southern New Jersey

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areas. Vendor B had a relationship with JOSEPH ASHTON for many years

preceding the relevant time period of this Information. In August of 2012, Vendor B

opened a business which purported to sell American-made custom watches. The

only income Vendor B’s company earned was from UAW and CHR business.
Conspiracy to Commit Honest Services Wire Fraud

From in or about 2012, through in or about July of 2016, JOSEPH ASHTON
conspired with others including, Michael Grimes and Jeffery Pietrzyk, to devise a
scheme to defraud the CHR and UAW members of their right to honest, faithful,
and impartial services, including the CHR’s and UAW members’ right to
conscientious, loyal, faithful, disinterested, unbiased service, to be performed free
of deceit, undue influence, conflict of interest, self-enrichment, self-dealing,
concealment, bribery, fraud, and corruption, and to cause writings, signals, and
sounds to be transmitted by wire in interstate and foreign commerce, for the
purpose of executing and attempting to execute the scheme and artifice.

From in or about 2012, through in or about July of 2016, it was an object of
the scheme to defraud for JOSEPH ASHTON, Michael Grimes, and Jeffery
Pietrzyk to use their positions with the UAW and CHR to personally enrich
themselves by deceptively soliciting, influencing, and obtaining contracts from the
UAW and the CHR for Vendor B to provide watches to the CHR and to UAW

members. In return, JOSEPH ASHTON, Michael Grimes, and Jeffery Pietrzyk

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demanded and accepted from Vendor B hundreds of thousands of dollars in bribes
and kickbacks in the form of cash and checks.

JOSEPH ASHTON, Michael Grimes, and Jeffery Pietrzyk concealed and did
not disclose the manner in which a contract between the CHR and Vendor B was
obtained or the fact that JOSEPH ASHTON, Michael Grimes, and Jeffery Pietrzyk
accepted bribes and kickbacks from Vendor B. JOSEPH ASHTON deposited into
his bank accounts the cash and checks he received and also caused the CHR to send
payments to Vendor B via interstate wire, thereby transmitting a writing or signal
by means of a wire communication in interstate commerce.

Conspiracy to Commit Money Laundering

From in or about 2012, through in or about July of 2016, JOSEPH ASHTON
conspired with Michael Grimes and Jeffery Pietrzyk to knowingly engage in
monetary transactions by depositing the cash and checks he received as kickbacks
from Vendor B, through or to a financial institution in the United States, thereby
affecting interstate and foreign commerce. The criminally derived property was of a
value of at least $250,000.
dis Sentencing Guidelines

A. Standard of Proof
The Court will find sentencing factors by a preponderance of the evidence,
following receipt of this Rule 11 Plea Agreement, the Presentence Report, and any

other information that the Court may require of the parties.

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B. Guideline Range

The government’s recommended guideline range is 30 to 37 months, and the
defendant agrees with this guideline range. Except as necessary to the Court’s
determination regarding paragraph 2.B.1, neither party may take any position
concerning the applicable guidelines that is different than any position of that party
as noted above and as reflected in the attached worksheets. The defendant reserves
the right to argue for a variance from the agreed upon guideline range pursuant to
18 U.S.C. § 3553(a).

1. Findings that Increase the Government’s Recommended Guideline
Range

 

If the Court finds that (i) the defendant’s criminal history category is higher
than reflected on the attached worksheets, or (ii) the offense level should be higher
because, after pleading guilty, the defendant made any false statement to or
withheld information from his probation officer, otherwise demonstrated a lack of
acceptance of responsibility for his offense, or obstruction of justice or committed
any crime, and if any such finding results in a guideline range higher than 30 to 37
months, the higher guidelines range becomes the government’s recommended

guidelines range in paragraph 2B.

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2. Findings That Do Not Increase The Government’s Recommended
Guidelines Range

If the Court finds that defendant is a career offender, an armed career
criminal, or a repeat and dangerous sex offender as defined under the sentencing
guidelines or other federal law, and that finding is not already reflected in the
attached worksheets, this paragraph does not authorize a corresponding increase in
the government’s recommended guideline range.

3. Sentence

The Court will impose a sentence pursuant to 18 U.S.C. § 3553, and in doing

so must consider the sentencing guideline range.
A. Imprisonment

Pursuant to the Federal Rules of Criminal Procedure 11(c)(1)(C) the sentence
of imprisonment in this case may not exceed the top of the sentencing guideline
range as determined by Paragraph 2B.

B. Supervised Release

A term of supervised release, if imposed, follows the term of imprisonment.
There is no agreement on supervised release. In other words, the Court may impose
any term of supervised release up to the statutory maximum term, which in this case
is 3 years. The agreement concerning imprisonment described above in Paragraph
3A does not apply to any term of imprisonment that result from any later revocation

of supervised release.

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C. Special Assessment

Defendant will pay a special assessment of $200. The defendant is required
to pay the special assessment immediately after sentence is imposed, and provide a
receipt to the United States Attorney’s Office within 24 hours of sentencing. The
defendant is encouraged to voluntarily pay the special assessment before sentencing
and bring the receipt to sentencing.

D. Fine

There is no agreement as to fines.

E. Restitution

Restitution is not applicable in this case.

F. ‘Forfeiture

As part of this agreement, defendant agrees to forfeit any and all property,
real or personal, which constitutes or is derived from proceeds traceable to his
participation in the described honest services wire fraud conspiracy under 18 U.S.C.
§ 981(a)(1)(C) together with 28 U.S.C. § 2461(c). Defendant also agrees to forfeit
any property, real or personal, involved in or traceable to the money laundering
conspiracy under 18 U.S.C. § 982(a)(1). Specifically, defendant agrees to the entry
of a forfeiture money judgment against him, in favor of the United States, in the
amount of $250,000.00 (the “Money Judgment”). Defendant agrees that he

personally obtained at least $250,000.00 as bribe payments as described in the

Factual Basis for Guilty Plea, above. Defendant further agrees that he knowingly
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engaged in monetary transactions with the bribes he received to conceal the nature
of the funds.

Following entry of this Rule 11 Agreement, defendant agrees to the Court’s
prompt entry of one or more orders of forfeiture, and agrees to sign a Stipulated
Preliminary Order of Forfeiture for the $250,000.00 Money Judgment, at his Rule
11 plea hearing, or within two weeks of that hearing. Defendant agrees that the
forfeiture order shall be final and effective as to him upon entry.

Defendant acknowledges that he spent and dissipated many of the criminal
proceeds that he obtained in connection with the described conspiracies, making
these funds unavailable for forfeiture. For this reason, Defendant agrees that the
Money Judgment may be satisfied through forfeiture of any property owned by him
or under his dominion and control. Defendant explicitly agrees to the forfeiture of
any and all identified substitute assets under 21 U.S.C. § 853(p)(2) and waives and
relinquishes his right to oppose the forfeiture of substitute assets under 21 U.S.C.

§ 853(p)(1) or otherwise.

Defendant agrees to cooperate with the United States in connection with its
efforts to identify, locate, seize, and forfeit property in accordance with this
agreement. Defendant agrees that he will cooperate with the United States by taking
whatever steps are necessary to deliver possession of, and clear title to, any property
that is forfeitable to the United States and will execute any legal documents that

may be required to transfer title to the United States. Defendant will take whatever

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steps are necessary to ensure that his assets are not sold, disbursed, hidden, wasted
or otherwise made unavailable for forfeiture.

Defendant knowingly, voluntarily, and intelligently waives all constitutional
and statutory challenges, in any form, to any forfeiture carried out in accordance
with this plea agreement, on any grounds, including that the forfeiture constitutes an
excessive fine or punishment under the Excessive Fines Clause of the Eighth
Amendment.

Defendant acknowledges that he understands that forfeiture is part of the
sentence that may be imposed on him in this case and waives his right to challenge
any failure by the court to advise him of this, under Rule 11(b)(1)(J), or otherwise,
at the time his guilty plea is accepted. Defendant further waives the requirements of
Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice of forfeiture in
the charging instrument, pronouncement of forfeiture at sentencing, and
incorporation of forfeiture in the judgment and waives any right he may have to
request a jury determine forfeiture under Rule 32.2(b)(5).

4. Other Charges

The government agrees that it will forego prosecution of JOSEPH ASHTON

for other charges relating to the conspiracy to commit honest services wire fraud

and money laundering and for any other matters revealed to the government during

the investigation leading to this charge.

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5. Each Party’s Right to Withdraw from This Agreement

The government may withdraw from this agreement if the Court finds the
correct guideline range to be different than is determined by Paragraph 2B.

Defendant may withdraw from this agreement, and may withdraw his guilty
plea, if the Court decides to impose a sentence higher than the maximum allowed
by Part 3. This is the only reason for which defendant may withdraw from this
agreement. The Court shall advise defendant that if he does not withdraw her guilty
plea under this circumstance, the Court may impose a sentence greater than the
maximum allowed by Part 3.
6. Use of Withdrawn Guilty Plea

If the Court allows defendant to withdraw his guilty plea for a “fair and just
reason” pursuant to Fed. R. Crim. P. 11(d)(2)(B), defendant waives his rights under
Fed. R. Evid. 410, and the government may use his guilty plea, any statement made
under oath at the change-of-plea hearing, and the factual basis statement in this plea
agreement, against him in any proceeding.
7. Consequence of Withdrawal of Guilty Plea or Vacation of Conviction

If defendant is allowed to withdraw his guilty plea or if any conviction
entered pursuant to this agreement is vacated, the Court shall, on the government’s
request, reinstate any charges that were dismissed as part of this agreement. If
additional charges are filed against defendant within six months after the date the

order vacating defendant's conviction or allowing him to withdraw his guilty pleas

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becomes final, which charges relate directly or indirectly to the conduct underlying
the guilty pleas or to any conduct reflected in the attached worksheets, defendant
waives his right to challenge the additional charges on the ground that they were not
filed in a timely manner, including any claim that they were filed after the
limitations period expired.
8. Appeal Waiver

The defendant waives any right he may have to appeal his conviction on any
grounds. If the defendant’s sentence does not exceed 37 months, the defendant also
waives any right he may have to appeal his sentence on any grounds. If the
defendant’s sentence of imprisonment is at least 30 months, the government waives
any right it may have to appeal the defendant’s sentence.
9, Collateral Consequences of Conviction

Defendant understands that his convictions here may carry additional
consequences under federal and state law, including the potential loss of the right to
vote, right to carry a firearm, right to serve on a jury, and ability to hold certain
licenses or to be employed in certain fields. Defendant further understands that, if
he is not a native-born citizen of the United States, there may be adverse
immigration consequences resulting from conviction. These include possible
removal from the United States, denial of citizenship, denaturalization, denied
admission to the United States in the future and other possible consequences.

Defendant understands that no one, including the defendant’s attorney or the Court,

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can predict to a certainty the effect of defendant’s conviction on any of these
matters. Defendant nevertheless affirms that he chooses to plead guilty regardless of
any immigration consequences or other collateral consequences of his conviction.
10. Parties to Plea Agreement

Unless otherwise indicated, this agreement does not bind any government
agency except the United States Attorney’s Office for the Eastern District of
Michigan.
11. Scope of Plea Agreement

This agreement, which includes all documents that it explicitly incorporates,
is the complete agreement between the parties. This agreement supersedes all other
promises, representations, understandings and agreements between the parties
concerning the subject matter of this plea agreement that were made at any time
before the guilty plea is entered in court. Thus, no oral or written promises made by
the government to defendant or to the attorney for the defendant at any time before
defendant pleads guilty are binding except to the extent they have been explicitly
incorporated into this agreement.

Notwithstanding the previous paragraph, if defendant has entered into a
proffer agreement in writing or a cooperation agreement in writing with the
government, this plea agreement does not supersede or abrogate the terms of any

such prior written agreement.

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This agreement also does not prevent any civil or administrative actions
against defendant, or any forfeiture claim against any property, by the United States
or any other party.

12. Acceptance of Agreement by Defendant

This plea offer expires unless it has been received, fully signed, in the Office
of the United States Attorney by 5:00 P.M. on November 8, 2019. The government
reserves the right to modify or revoke this offer at any time before defendant pleads
guilty.

MATTHEW SCHNEIDER

 

 

DAVID A. GARDEY

Assistant United States Attorney
Chief, Public Corruption Unit

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FRANCES LEE CARLSON
Assistant United States Attorney

TA “y Pub a Unit

Le” P. lll
Assistant United States Attorney

Date: October 29, 2019

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By signing below, defendant acknowledges that he has read (or been read) this
entire document, understands it, and agrees to its terms. He also acknowledges that
he is satisfied with his attorney’s advice and representation. Defendant agrees that
he has had a full and complete opportunity to confer with his lawyer, and has had
all of his Se pnmyered by his lawyer.

— DW Cab bAZD
JEROME gidorio CO )SEPH ASHTON
Attorney’ for Defendant Defendant

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Defendant: Joseph Ashton Count: One
Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. §§ 1343, 1349

 

 

 

 

 

 

WORKSHEET A (Offense Levels)

Complete one Worksheet A for each count of conviction (taking into account relevant conduct
and treating each stipulated offense as a separate count of conviction) before applying the
multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts
of conviction, if the counts of conviction are all “closely related” to each other within the
meaning of U.S.S.G. § 3D1.2(d), complete only a single Worksheet A.

1. BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

 

 

Guideline Section Description Levels
2B1.1(a)(1) base offense level--20 year statutory maximum 7
(b)(1)(G) loss > $250,000 +12

 

 

 

 

 

 

2. ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

 

Guideline Section Description Levels
3B 1.3 Abuse of position of trust. +2

 

 

 

 

 

 

 

 
 

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Defendant: Joseph Ashton Count: One

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): [18 U.S.C. §§ 1343, 1349

 

3. ADJUSTED OFFENSE LEVEL

 

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does
not cover every count of conviction (taking into account relevant conduct and treating 21
each stipulated offense as a separate count of conviction), complete one or more
additional Worksheets A and a single Worksheet B.

 

 

 

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If this is the only Worksheet A, check this box and skip Worksheet B.

 

If the defendant has no criminal history, check this box and skip Worksheet C.

 

 

 
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Defendant: _|Joseph Ashton Count: One

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): [18 U.S.C. §§ 1343, 1349

 

 

WORKSHEET B (Multiple Counts)

Instructions (U.S.S.G. ch. 3, pt. D):

¢ Group the counts of conviction into distinct Groups of Closely Related Counts. “All counts
involving substantially the same harm shall be grouped together into a single Group.” (See
U.S.S.G. § 3D1.2.)

e Determine the offense level applicable to each Group. (See U.S.S.G. § 3D1.3.)

e Determine the combined offense level by assigning “units” to each Group as follows (see
U.S.S.G. § 3D1.4):

° assign | unit to the Group with the highest offense level,

° assign 1 unit to each additional Group that is equally serious as, or 1 to 4 levels less
serious than, the Group with the highest offense level,

° assign 2 unit to each Group that is 5 to 8 levels less serious than the Group with the
highest offense level,

° assign no units to each Group that is 9 or more levels less serious than the Group with

the highest offense level.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. GROUP ONE: COUNT(S)
ADJUSTED OFFENSE LEVEL =
unit
2. GROUP TWO: COUNT(S)
ADJUSTED OFFENSE LEVEL -
unit
3. GROUP THREE: COUNT(S)
ADJUSTED OFFENSE LEVEL ,
unit
4. Group Four: COUNT(S)
ADJUSTED OFFENSE LEVEL ;
unit
5. TOTAL UNITS
units

 

 

 

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Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.50 Page 20 of 42

 

Defendant: |Joseph Ashton Count: One

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. §§ 1343, 1349

 

6. INCREASE IN OFFENSE LEVEL

 

1 unit —~> no increase 2 1/2 —3 units —~> add 3 levels
1 1/2 units —> addi level 3 1/2—5 units —> add 4 levels
2 units —~> add 2 levels > 5 levels —~ add 5 levels

 

 

 

 

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL

 

 

 

8. COMBINED ADJUSTED OFFENSE LEVEL

 

 

Enter the sum of the offense levels entered in Items 6 and 7.

 

 

 

B-2
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Defendant: |Joseph Ashton Count: One

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): [18 U.S.C. §§ 1343, 1349

 

 

WORKSHEET C (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct

and stipulated offenses):

 

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months
@.S.S.G. §§ 4A1.1(a)):

Enter 3 points for each prior adult sentence of imprisonment exceeding one
year and one month that either (1) was imposed within 15 years of the
defendant's commencement of the instant offenses (taking into account relevant
conduct and stipulated offenses) or (2) resulted in the defendant’s confinement
during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1),
(e)(1).)

Prior Sentence of Imprisonment of at Least 60 Davs

(U.S.S.G. §§ 4A1.1(b)):

Enter 2 points for each prior sentence of imprisonment of at least 60 days not
counted under U.S.S.G. § 4A1.1(a) that either (1) resulted from an offense
committed after the defendant turned 18 and was imposed within 10 years of
the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b),
4A1.2(e)(2)) or (2) resulted from an offense committed before the defendant
turned 18 and resulted in the defendant’s confinement during any part of the 5-
year period preceding the defendant’s commencement of the instant offense
(see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences
(.S.S.G. §§ 4AL U(c)):

Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or
(b) that either (1) resulted from an offense committed after the defendant turned
18 and was imposed within 10 years of the defendant’s commencement of the
instant offense (taking into account relevant conduct and stipulated offenses)
(see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense
committed before the defendant turned 18 and was imposed within 5 years of
the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c),
4A1.2(d)(2)(B)). NOTE: No more than 4 points may be added under this item.

C-1

3 POINTS

2 POINTS

1 POINT
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Defendant: |Joseph Ashton Count: One
Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. §§ 1343, 1349
Date of Status* Offense Sentence Release Points
Imposition Date**

 

 

 

 

 

 

 

 

 

 

* If the defendant committed the offense before turning 18, indicate whether he or she was
sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only two situations: (1) when a sentence covered under
U.S.S.G. § 4A1.1(a) was imposed more than 15 years before the defendant’s commencement of
the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in
his or her confinement during any part of that 15-year period; or (2) when a sentence counted
under U.S.S.G. § 4A1.1(b) was imposed for an offense committed before the defendant turned
18 but resulted in his or her confinement during any part of the 5-year period preceding his or
her commencement of the instant offense (taking into account relevant conduct and stipulated
offenses).
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Defendant: (Joseph Ashton Count: [One

 

 

 

 

 

 

Docket No.: [19-cr-20738 Statute(s): [18 U.S.C. §§ 1343, 1349

 

2. COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE

(U.S.S.G. § 4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense
(taking into account relevant conduct and stipulated offenses) while under any
criminal justice sentence having a custodial or supervisory component,
including probation, parole, supervised release, imprisonment, work release,
and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of
control and identify the sentence from which it resulted.

 

 

 

 

 

 

3. PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(e))

 

Enter 1 point for each prior sentence resulting from a conviction for a crime of
violence that did not receive any points under U.S.S.G. § 4A1.1(a), (b), or (c)
because such sentence was considered related to another sentence resulting
from a conviction for a crime of violence. But enter no points where the
sentences are. considered related because the offenses occurred on the same
occasion. (See U.S.S.G. §§ 4A1.1(e), 4A1.2(p).) Identify the crimes of
violence and briefly explain why the cases are considered related. NOTE: No
more than 3 points may be added under this item.

 

 

 

 

 

4. TOTAL CRIMINAL HISTORY POINTS He 0 |
Enter the sum of the criminal history points entered in Items 1-4.

 

 

 

5. CRIMINAL HISTORY CATEGORY

 

Total Criminal History Points Criminal History Category
0-1 I
2-3 I
4-6 Til
7-9 IV
10-12 . Vv | -
213 VI eo

 

 

 

C-3
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.54 Page 24 of 42

 

Defendant:

Joseph Ashton

Count:

One

 

 

Docket No.:

 

19-cr-20738

 

Statute(s):

 

18 U.S.C. §§ 1343, 1349

 

 

WORKSHEET D (Guideline Range)

1. (COMBINED) ADJUSTED OFFENSE LEVEL

Enter the adjusted offense level entered in Item 3 of Worksheet A or the
combined adjusted offense level entered in item 8 of Worksheet B.

2. ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G. § 3E1.1)

3. TOTAL OFFENSE LEVEL

Enter the difference between Items 1 and 2.

4. CRIMINAL HISTORY CATEGORY

Enter “I” if the defendant has no criminal history. Otherwise, enter the
criminal history category entered in Item 6 of Worksheet C.

5. CAREER OFFENDER/CRIMINAL LIVELIHOOD/ARMED CAREER
CRIMINAL/DANGEROUS SEX OFFENDER (U.S.S.G. ch. 4, pt. B)

a.

b.

Total Offense Level: If the career offender provision (U.S.S.G. §
4B 1.1), the criminal livelihood provision (U.S.S.G. § 4B1.3), the
armed career criminal provision (U.S.S.G. § 4B1.4), or the
dangerous sex offender provision (U.S.S.G. § 4B1.5) results in a
total offense level higher than the total offense level entered in Item
3, enter the higher offense level total.

Criminal History Category: If the career offender provision
(U.S.S.G. § 4B1.1), the armed career criminal provision (U.S.S.G.
§ 4B1.4), or the dangerous sex offender provision (U.S.S.G.
§ 4B1.5) results in a criminal history category higher than the
criminal history category entered in Item 4, enter the higher
criminal history category.

6. | GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. CH. 5, PT. A)
Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A) produced by

the total offense level entered in Item 3 or 5.a and the criminal history category entered in
Item 4 or 5.b.

D-1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

27-33

 

 

months

 

 

 
 

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Defendant: [Joseph Ashton Count: One
Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. §§ 1343, 1349

 

 

 

 

 

 

7. STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE
If the maximum sentence authorized by statute is below, or a minimum
sentence required by statute is above, the guideline range entered in Item 6,
enter either the guideline range as restricted by statute or the sentence
required by statute. (See U.S.S.G. § 5G1.1.) Ifthe sentence on any count of
conviction is required by statute to be consecutive to the sentence on any
other count of conviction, explain why.

 

 

months
Case 2:

19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.56 Page 26 of 42

 

Defendant:

Joseph Ashton Count: One

 

 

Docket No.:

 

 

 

 

19-cr-20738 Statute(s): |18 U.S.C. §§ 1343, 1349

 

WORKSHEET E (Authorized Guideline Sentences)

1. PROBATION

 

x} it

 

 

2.

 

 

3.

 

 

 

 

 

 

 

___ a. Imposition of a Term of Probation (U.S.S.G. § 5B1.1)

Probation is not authorized by the guidelines (minimum of guideline range > 10
months or statute of conviction is a Class A or a Class B felony). If this box is
checked, go to Item 2 (Split Sentence).

Probation is authorized by the guidelines (minimum of guideline range = zero
months).

Probation is authorized by the guidelines, provided the court imposes a condition or
combination of conditions requiring intermittent confinement, community
confinement, or home detention satisfying the minimum of the guideline range
(minimum of guideline range > 0 months but < 9 months).

b. Length of Term of Probation (U.S.S.G. § 5B1.2)
1. At least 1 year but not more than 5 years (total offense level > 6)
2. No more than 3 years (total offense level < 6).

c. Conditions of Probation (U.S.S.G. § 5B1.3)

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(€)(2), (D)(2))

 

ea A split sentence is not authorized (minimum of guideline range = 0 months or > 15

 

 

 

 

months).
|b. A split sentence is authorized (minimum of guideline range > 0 months but < 12
months). The court may impose a sentence of imprisonment that includes a term of

supervised release with a condition that substitutes community confinement or home
detention for imprisonment, provided that at least one-half of the minimum of the
guideline range is satisfied by imprisonment (if the minimum of the guideline range is

10

or 12 months), or that at least one month is satisfied by imprisonment (if the

minimum of the guideline range is 1, 2, 3, 4, 6, 8, or 9 months). The authorized length
of the term of supervised release is set forth below in Item 4.b.

3. IMPRISONMENT (U.S.S.G. CH. 5, PT. C)
A term of imprisonment is authorized by the guidelines if it is within the applicable
guideline range (entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.)

E-1
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelID.57 Page 27 of 42

 

Defendant:

Joseph Ashton

Count:

One .

 

 

 

Docket No.: |19-cr-20738

 

Statute(s):

 

 

18 U.S.C. §§ 1343, 134

 

4, SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a. Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)
The court must impose a term of supervised release if it imposes a term of
imprisonment of more than one year, or if it is required to do so by statute. The court
may impose a term of supervised release if it imposes a term of imprisonment of one
year or less.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

c. Conditions of Supervised Release (U.S.S.G. § 5D1.3)

_b. Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

1. At least 2 years but not more than 5 years, where the count of conviction is a Class

A or a Class B felony, i.e., an offense carrying a maximum term of imprisonment

> 25 years.

. At least 1 year but not more than 3 years, where the count of conviction is a Class
C or a Class D felony, i.e., an offense carrying a maximum term of imprisonment

> 5 years but < 25 years.

. 1 year, where the count of conviction is a Class E felony or a Class A
misdemeanor, i.e., an offense carrying a maximum term of imprisonment > 6

months but <5 years.
The statute of conviction requires a minimum term of supervised release of

years.

 

The court must impose certain conditions of supervised release and may impose other

conditions of supervised release.

5. RESTITUTION(U.S.S.G. § 5E1.1)

 

1.

 

 

 

 

 

The court must order full restitution to the victim(s) of the offense(s) of conviction.
(See 18 U.S.C. §§ 3556, 3663A, 3664.) The court will determine who the victims

are and their restitution amounts.

$

 

2. The court must order full restitution to the victim(s) of the offense(s) of conviction.
(See 18 U.S.C. §§ 3556, 3663A, 3664) The parties agree that full restitution is
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.58 Page 28 of 42

 

 

 

 

 

 

 

 

 

 

Defendant: |Joseph Ashton Count: One
Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. §§ 1343, 1349
3. The parties agree that the court may order restitution to the victim(s) of the

 

 

 

 

 

 

 

 

 

 

offense(s) of conviction in any amount up to and__ including
$_ _ . (See 18 U.S.C. §§ 3663(a)(3), 3664.)

The parties agree that the court may also order restitution to persons other than the
victim(s) of the » OFfense(s) of conviction in any amount up to and including

Go . (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3), 3664.)

Restitution is not applicable.

6. FINE (U.S.S.G. § 5E1.2)

a.

Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is
unable to pay and is not likely to become able to pay any fine.” (See U.S.S.G. §
5E1.2(a).) Generally, the fine authorized by the guidelines is limited to the range
established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there are
exceptions to this general rule. (See U.S.S.G. § SE1.2(b), (c)(4).)

Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

Minimum Fine Maximum Fine

$10,000. $100,000
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.59 Page 29 of 42

 

Defendant: jJoseph Ashton Count: One

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. §§ 1343, 1349

 

7. SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)
The court must impose a special assessment on every count of conviction. The special
assessments for individual defendants are:
= $100.00 for every count charging a felony ($400 for a corporation),
= $25.00 for every count charging a Class A misdemeanor ($125 for a corporation),
= $10.00 for every count charging a Class B misdemeanor ($50 for a corporation), and
= $5.00 for every count charging a Class C misdemeanor or an infraction ($25 for a
corporation).
The defendant must pay a special assessment or special assessments in the total amount of
$100. .

8. FORFEITURE (U.S.S.G. § 5E1.4)

 

 

 

va .| Assets of the defendant will be Assets of the defendant will not be
ot 4 forfeited. forfeited.

 

 

 

 

 

9, ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

 

 

10. UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)
List any applicable aggravating or mitigating circumstance that might support a term of
imprisonment above or below the applicable guideline range.

(Rev. April 2014)

E-4
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.60 Page 30 of 42

 

Defendant:

Joseph Ashton

Count:

Two - money laund.

 

 

Docket No.:

 

19-cr-20738

Statute(s):

 

 

18 U.S.C. § 1956(h)

 

WORKSHEET A (Offense Levels)

Complete one Worksheet A for each count of conviction (taking into account relevant conduct
and treating each stipulated offense as a separate count of conviction) before applying the
multiple-count rules in U.S.S.G. ch. 3, pt. D. However, in any case involving multiple counts
of conviction, if the counts of conviction are all “closely related” to each other within the
meaning of U.S.S.G. § 3D1.2(d), complete only a single Worksheet A.

I BASE OFFENSE LEVEL AND SPECIFIC OFFENSE CHARACTERISTICS (U.S.S.G. ch. 2)

 

 

 

 

 

 

 

 

 

Guideline Section Description Levels
281.1 (a)(1) Money laundering 19
2S1.1(b)(A) Convicted under § 1957 ial
Zs ADJUSTMENTS (U.S.S.G. ch. 3, pts. A, B, C)

Guideline Section Description Levels
3B1.3 Abuse of position of trust +2

 

 

 

 

A-1

 

 

 

 

 
 

Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.61 Page 31 of 42

y

 

Defendant: Joseph Ashton Count: Two - money laund.

 

 

 

 

Docket No. [19-cr-20738 Statute(s): [18 U.S.C. § 1956(h)

 

 

3. ADJUSTED OFFENSE LEVEL

 

Enter the sum of the offense levels entered in Items 1 and 2. If this Worksheet A does
not cover every count of conviction (taking into account relevant conduct and treating
each stipulated offense as a separate count of conviction), complete one or more
additional Worksheets A and a single Worksheet B.

22

 

 

 

He ie he fe fe fe oe oe oe ae ole ie fe 2 ok 2 oo

 

Ff this is the only Worksheet A, check this box and skip Worksheet B.

 

If the defendant has no criminal history, check this box and skip Worksheet C.

 

 

 

 
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.62 Page 32 of 42

 

Defendant: |Joseph Ashton Count: Two - money laund.

 

 

 

 

 

 

Docket No.: {19-cr-20738 Statute(s):; {18 U.S.C. § 1956(h)

 

WORKSHEET B (Multiple Counts)

Instructions (U.S.S.G. ch. 3, pt. D):

¢ Group the counts of conviction into distinct Groups of Closely Related Counts. “All counts
involving substantially the same harm shall be grouped together into a single Group.” (See
U.S.S.G. § 3D1.2.)

e Determine the offense level applicable to each Group. (See U.S.S.G. § 3D1.3.)

e Determine the combined offense level by assigning “units” to each Group as follows (see
U.S.S.G. § 3D1.4):

. assign 1 unit to the Group with the highest offense level,

, assign 1 unit to each additional Group that is equally serious as, or 1 to 4 levels less
serious than, the Group with the highest offense level, |

° assign 2 unit to each Group that is 5 to 8 levels less serious than the Group with the
highest offense level,

° assign no units to each Group that is 9 or more levels less serious than the Group with

the highest offense level.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1. GROUP ONE: COUNT(S)
ADJUSTED OFFENSE LEVEL ;
unit
2. GROUP TWO: COUNT(S)
ADJUSTED OFFENSE LEVEL :
unit
3. GROUP THREE: COUNT(S)
ADJUSTED OFFENSE LEVEL ,
unit
4. GROUP FOUR: COUNT(S)
ADJUSTED OFFENSE LEVEL :
: unit
5. TOTAL UNITS
units

 

 

 

B-1
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.63 Page 33 of 42

 

Defendant: |Joseph Ashton Count: Two - money laund.

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. § 1956(h)

 

6. INCREASE IN OFFENSE LEVEL

 

l unit —~ no increase 2 1/2 —3 units —~> add 3 levels
1 1/2 units —>add1 level 3 1/2—5 units —> add 4 levels
2 units —> add 2 levels > 5 levels —> add 5 levels

 

 

 

 

7. ADJUSTED OFFENSE LEVEL OF GROUP
WITH THE HIGHEST OFFENSE LEVEL

 

 

 

8. COMBINED ADJUSTED OFFENSE LEVEL

 

 

Enter the sum of the offense levels entered in Items 6 and 7.

 

 

 
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.64 Page 34 of 42

 

Defendant: |Joseph Ashton Count: Two - money laund.

 

 

 

 

 

Docket No. |19-cr-20738 Statute(s): 18 U.S.C. § 1956(h)

 

 

WORKSHEET C (Criminal History)

Date of defendant’s commencement of the instant offense (taking into account relevant conduct

and stipulated offenses):

 

1. PRIOR SENTENCES

Prior Sentence of Imprisonment Exceeding 13 Months
(U.S.S.G. §§ 4A1.1(a)):

Enter 3 points for each prior adult sentence of imprisonment exceeding one
year and one month that either (1) was imposed within 15 years of the
defendant's commencement of the instant offenses (taking into account relevant
conduct and stipulated offenses) or (2) resulted in the defendant’s confinement
during any part of that 15-year period. (See U.S.S.G. §§ 4A1.1(a), 4A1.2(d)(1),
(e)(1).)

Prior Sentence of Imprisonment of at Least 60 Days

(U.S.S.G. §§ 4A1.1(b)):

Enter 2 points for each prior sentence of imprisonment of at least 60 days not
counted under U.S.S.G. § 4A1.1(a) that either (1) resulted from an offense
committed after the defendant turned 18 and was imposed within 10 years of
the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(b),
4A1.2(e)(2)) or (2) resulted from an offense committed before the defendant
turned 18 and resulted in the defendant’s confinement during any part of the 5-
year period preceding the defendant’s commencement of the instant offense
(see U.S.S.G. §§ 4A1.1(b), 4A1.2(d)(2)(A)).

Other Prior Sentences
(U.S.S.G. §§ 4A L M(c)):

Enter 1 point for each prior sentence not counted under U.S.S.G. § 4A1.1(a) or
(b) that either (1) resulted from an offense committed after the defendant turned
18 and was imposed within 10 years of the defendant’s commencement of the
instant offense (taking into account relevant conduct and stipulated offenses)
(see U.S.S.G. §§ 4A1.1(c), 4A1.2(e)(2)) or (2) resulted from an offense
committed before the defendant turned 18 and was imposed within 5 years of
the defendant’s commencement of the instant offense (taking into account
relevant conduct and stipulated offenses) (see U.S.S.G. §§ 4A1.1(c),
4A1.2(d)(2)(B)). NOTE: No more than 4 points may be added under this item.

C-1

3 POINTS

2 POINTS

LPOINT
 

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Defendant: _|Joseph Ashton Count: Two - money laund.

Docket No.: |19-cr-20738 Statute(s): |}18 U.S.C. § 1956(h)
Date of Status* Offense Sentence Release Points

Imposition Date**

 

 

 

 

 

 

 

 

 

 

 

* If the defendant committed the offense before turning 18, indicate whether he or she was
sentenced as a juvenile (J) or as an adult (A).

** A release date is required in only two situations: (1) when a sentence covered under
U.S.S.G. § 4A1.1(a) was imposed more than 15 years before the defendant’s commencement of
the instant offense (taking into account relevant conduct and stipulated offenses) but resulted in
his or her confinement during any part of that 15-year period; or (2) when a sentence counted
under U.S.S.G. § 4A1.1(b) was imposed for an offense committed before the defendant turned
18 but resulted in his or her confinement during any part of the 5-year period preceding his or
her commencement of the instant offense (taking into account relevant conduct and stipulated
offenses).
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelID.66 Page 36 of 42

 

Defendant: Joseph Ashton Count: Two - money laund.

 

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. § 1956(h)

 

2. COMMISSION OF INSTANT OFFENSE WHILE UNDER PRIOR SENTENCE

(U.S.S.G. § 4A1.1(d))

Enter 2 points if the defendant committed any part of the instant offense
(taking into account relevant conduct and stipulated offenses) while under any
criminal justice sentence having a custodial or supervisory component,
including probation, parole, supervised release, imprisonment, work release,
and escape status. (See U.S.S.G. §§ 4A1.1(d), 4A1.2(m), (n).) List the type of
control and identify the sentence from which it resulted.

 

 

 

 

 

 

3. PRIOR SENTENCE RESULTING FROM CRIME OF VIOLENCE (U.S.S.G. § 4A1.1(e))

 

Enter 1 point for each prior sentence resulting from a conviction for a crime of
violence that did not receive any points under U.S.S.G. § 4A1.1(a), (b), or (c)
because such sentence was considered related to another sentence resulting
from a conviction for a crime of violence. But enter no points where the
sentences are considered related because the offenses occurred on the same
occasion. (See U.S.S.G. §§ 4Al1.1(e), 4A1.2(p).) Identify the crimes of
violence and briefly explain why the cases are considered related. NOTE: No
more than 3 points may be added under this item.

 

 

 

 

4. TOTAL CRIMINAL History POINTS
Enter the sum of the criminal history points entered in Items 1-4.

 

 

 

 

5. CRIMINAL HISTORY CATEGORY

 

 

Total Criminal History Points Criminal History Category
0-1 I
2-3 II
4-6 Ill
7-9 IV
10-12 V pe
713 VI oiPee

 

 

 

C-3
Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.67 Page 37 of 42

 

Defendant: |Joseph Ashton Count: Two - money laund.

 

 

 

 

 

 

Docket No.: [19-cr-20738 Statute(s): [18 U.S.C. § 1956(h)

 

WORKSHEET D (Guideline Range)

1. (COMBINED) ADJUSTED OFFENSE LEVEL

 

Enter the adjusted offense level entered in Item 3 of Worksheet A or the ees
combined adjusted offense level entered in item 8 of Worksheet B. 220

 

2. | ADJUSTMENT FOR ACCEPTANCE OF RESPONSIBILITY (U.S.S.G. § 3E1.1)

 

3. TOTAL OFFENSE LEVEL

 

 

 

Enter the difference between Items 1 and 2.

 

 

4. CRIMINAL HISTORY CATEGORY

 

Enter “I” if the defendant has no criminal history. Otherwise, enter the a
criminal history category entered in Item 6 of Worksheet C. bo I

 

 

 

5. | CAREER OFFENDER/CRIMINAL LIVELIHOOD/ARMED CAREER
CRIMINAL/DANGEROUS SEX OFFENDER (U.S.S.G. ch. 4, pt. B) .
a. Total Offense Level: If the career offender provision (U.S.S.G. §

 

4B1.1), the criminal livelihood provision (U.S.S.G. § 4B1.3), the
armed career criminal provision (U.S.S.G. § 4B1.4), or the

 

 

 

dangerous sex offender provision (U.S.S.G. § 4B1.5) results in a
total offense level higher than the total offense level entered in Item
3, enter the higher offense level total.

 

b. Criminal History Category: If the career offender provision
~  {(U.S.S.G. § 4B1.1), the armed career criminal provision (U.S.S.G.

 

 

 

§ 4B1.4), or the dangerous sex offender provision (U.S.S.G.
§ 4B1.5) results in a criminal history category higher than the
criminal history category entered in Item 4, enter the higher
criminal history category.

 

6. GUIDELINE RANGE FROM SENTENCING TABLE (U.S.S.G. CH. 5, PT. A) | .
Enter the guideline range in the Sentencing Table (see U.S.S.G. ch. 5, pt. A) produced by 30-37
the total offense level entered in Item 3 or 5.a and the criminal history category entered in ee

 

 

 

Item 4 or 5.b.
months

D-1
 

Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.68 Page 38 of 42

 

Defendant: |Joseph Ashton Count: Two - money laund.
Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. § 1956(h)

 

 

 

 

 

7, STATUTORY RESTRICTIONS ON OR SUPERSESSION OF GUIDELINE RANGE
If the maximum sentence authorized by statute is below, or a minimum
sentence required by statute is above, the guideline range entered in Item 6,

 

 

enter either the guideline range as restricted by statute or the sentence
required by statute. (See U.S.S.G. § 5G1.1.) If the sentence on any count of
conviction is required by statute to be consecutive to the sentence on any
other count of conviction, explain why.

 

 

 

months

D-2
 

Case 2:19-cr-20738-BAF-APP ECF No. 11 filed 12/05/19 PagelD.69 Page 39 of 42

 

Defendant: |Joseph Ashton Count: Two - money laund.

 

Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. § 1956(h)

 

 

 

 

 

WORKSHEET E (Authorized Guideline Sentences)

1. PROBATION

 

 

 

 

 

 

 

 

 

 

 

 

 

Cc.

a. Imposition of a Term of Probation (U-S.S.G. § 5B1.1)

1. Probation is not authorized by the guidelines (minimum of guideline range > 10
months or statute of conviction is a Class A or a Class B felony). If this box is
checked, go to Item 2 (Split Sentence).

2. Probation is authorized by the guidelines (minimum of guideline range = zero
months).

3. Probation is authorized by the guidelines, provided the court imposes a condition or
combination of conditions requiring intermittent confinement, community
confinement, or home detention satisfying the minimum of the guideline range
(minimum of guideline range > 0 months but < 9 months).

b. Length of Term of Probation (U.S.S.G. § 5B1.2)

1. At least 1 year but not more than 5 years (total offense level > 6)
2. No more than 3 years (total offense level < 6).

Conditions of Probation (U.S.S.G. § 5B1.3)

2. SPLIT SENTENCE (U.S.S.G. § 5C1.1(C)(2), (D)(2))

 

x | 4

 

 

 

 

b.

A split sentence is not authorized (minimum of guideline range = 0 months or > 15
months). .

A split sentence is authorized (minimum of guideline range > 0 months but < 12
months). The court may impose a sentence of imprisonment that includes a term of
supervised release with a condition that substitutes community confinement or home
detention for imprisonment, provided that at least one-half of the minimum of the
guideline range is satisfied by imprisonment (if the minimum of the guideline range is
10 or 12 months), or that at least one month is satisfied by imprisonment (if the
minimum of the guideline range is 1, 2, 3, 4, 6, 8, or 9 months). The authorized length
of the term of supervised release is set forth below in Item 4.b.

3. IMPRISONMENT (U.S.S.G. CH. 5, PT. C)
A term of imprisonment is authorized by the guidelines if it is within the applicable
guideline range (entered in Item 6 of Worksheet D). (See U.S.S.G. § 5C1.1.)
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Defendant: |Joseph Ashton Count: Two - money laund.

 

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s). [18 U.S.C. § 1956(h)

 

4, SUPERVISED RELEASE (U.S.S.G. ch 5., pt. D)

a. Imposition of a Term of Supervised Release (U.S.S.G. § 5D1.1)
The court must impose a term of supervised release if it imposes a term of
imprisonment of more than one year, or if it is required to do so by statute. The court
may impose a term of supervised release if it imposes a term of imprisonment of one
year or less.

b. Length of Term of Supervised Release (U.S.S.G. § 5D1.2)

 

 

1. At least 2 years but not more than 5 years, where the count of conviction is a Class

 

 

A or a Class B felony, i.e., an offense carrying a maximum term of imprisonment
> 25 years.

 

 

x 2. At least 1 year but not more than 3 years, where the count of conviction is a Class

 

 

C or a Class D felony, i.e., an offense carrying a maximum term of imprisonment
> 5 years but < 25 years.

 

 

 

3. 1 year, where the count of conviction is a Class E felony or a Class A

 

misdemeanor, i.e., an offense carrying a maximum term of imprisonment > 6
months but <5 years.

 

 

 

4. The statute of conviction requires a minimum term of supervised release of |.

 

 

years.

c. Conditions of Supervised Release (U.S.S.G. § 5D1.3)

The court must impose certain conditions of supervised release and may impose other
conditions of supervised release.

5,  RESTITUTION(U.S.S.G. § 5E1.1)

 

 

1. The court must order full restitution to the victim(s) of the offense(s) of conviction.
(See 18 U.S.C. §§ 3556, 3663A, 3664.) The court will determine who the victims

 

 

are and their restitution amounts.

 

 

2. The court must order full restitution to the victim(s) of the offense(s) of conviction.

 

 

(See 18 U.S.C. §§ 3556, 3663A, 3664) The parties agree that full restitution is
$ _.

 

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Defendant: [Joseph Ashton Count: Two - money laund.
Docket No.: |19-cr-20738 Statute(s): {18 U.S.C. § 1956(h)
3. The parties agree that the court may order restitution to the victim(s) of the

 

 

 

 

 

 

 

 

 

 

offense(s) of conviction in any amount up to and __ including
$_ a . (See 18 U.S.C. §§ 3663(a)(3), 3664.)

The parties agree that the court may also order restitution to persons other than the
victim(s) of the offense(s) of conviction in any amount up to and including

$s, (See 18 U.S.C. §§ 3663(a)(1)(A), 3663A(a)(3), 3664.)

Restitution is not applicable.

_ 6. FINE (U.S.S.G. § 5E1.2)

a.

Fines for Individual Defendants

The court must impose a fine unless “the defendant establishes that he [or she] is
unable to pay and is not likely to become able to pay any fine.” (See U.S.S.G. §
SE1.2(a).) Generally, the fine authorized by the guidelines is limited to the range
established in the Fine Table. (See U.S.S.G. § 5E1.2(b).) However, there are
exceptions to this general rule. (See U.S.S.G. § 5E1.2(b), (c)(4).)

Fine Range from Fine Table (U.S.S.G. § 5E1.2(c)(3))

$10,000 $100,000.

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Defendant: jJoseph Ashton Count: Two - money laund.

 

 

 

 

 

Docket No.: |19-cr-20738 Statute(s): |18 U.S.C. § 1956(h)

 

7. SPECIAL ASSESSMENT(S) (U.S.S.G. § 5E1.3)
The court must impose a special assessment on every count of conviction. The special
assessments for individual defendants are:
= $100.00 for every count charging a felony ($400 for a corporation),
= $25.00 for every count charging a Class A misdemeanor ($125 for a corporation),
« $10.00 for every count charging a Class B misdemeanor ($50 for a corporation), and
« $5.00 for every count charging a Class C misdemeanor or an infraction ($25 for a
corporation).
The defendant must pay a special assessment or special assessments in the total amount of
$100 - eas

8. FORFEITURE (U.S.S.G. § 5E1.4)

 

 

 

ge | Assets of the defendant will be ~~ | Assets of the defendant will not be
| forfeited. >| forfeited.

 

 

 

 

 

9. ADDITIONAL APPLICABLE GUIDELINES, POLICY STATEMENTS, AND STATUTES

List any additional applicable guideline, policy statement, or statute.

 

 

 

10. UPWARD OR DOWNWARD DEPARTURE (U.S.S.G. ch. 5, pts. H & K)
List any applicable aggravating or mitigating circumstance that might support a term of
imprisonment above or below the applicable guideline range.

(Rev. April 2014)

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